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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                              SOUTHERN DIVISION


AMERICAN FEDERATION OF                        Case No.
TEACHERS,
    555 New Jersey Ave. N.W.
    Washington, DC 2000,

INTERNATIONAL ASSOCIATION OF
MACHINISTS AND AEROSPACE
WORKERS,
     9000 Machinists Place
     Upper Marlboro, MD 20772,

NATIONAL ACTIVE AND RETIRED
FEDERAL EMPLOYEES ASSOCIATION,
     606 N Washington St.
     Alexandria, VA 22314,

NATIONAL FEDERATION OF FEDERAL
EMPLOYEES,
     225 New York Avenue, NW, Suite 450
     Washington, DC 20005,

DONALD MARTINEZ,
    c/o Murphy Anderson PLLC
    1401 K St. NW
    Washington, D.C. 20005,

JASON CAIN,
     c/o Murphy Anderson PLLC
     1401 K St. NW
     Washington, D.C. 20005,

CLIFFORD GRAMBO,
     c/o Murphy Anderson PLLC
     1401 K St. NW
     Washington, D.C. 20005,

THOMAS FANT,
    c/o Murphy Anderson PLLC
    1401 K St. NW
    Washington, D.C. 20005,

CHRISTOPHER PURDY,
     c/o Murphy Anderson PLLC
     1401 K St. NW
     Washington, D.C. 20005, and
KRISTOFER GOLDSMITH
     c/o Murphy Anderson PLLC


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       1401 K St. NW
       Washington, D.C. 20005,

               Plaintiffs,

       vs.

SCOTT BESSENT, in his official capacity as
Secretary of the Treasury,
       1500 Pennsylvania Ave. NW
       Washington, D.C. 20220,

The UNITED STATES DEPARTMENT OF
THE TREASURY,
      1500 Pennsylvania Ave. NW
      Washington D.C. 20220,
CHARLES EZELL, in his official capacity as
the Acting Director of the Office of Personnel
Management,
       1900 E St. NW
       Washington, D.C. 20415,

The UNITED STATES OFFICE OF
PERSONNEL MANAGEMENT,
      1900 E St. NW
      Washington, D.C. 20415,

DENISE L. CARTER, in her official capacity
as the Acting Secretary of Education, and
        400 Maryland Avenue, SW
        Washington, D.C. 20202,

The UNITED STATES DEPARTMENT OF
EDUCATION,
      400 Maryland Avenue, SW
      Washington, D.C. 20202,
               Defendants.



                                        COMPLAINT

       1.     Americans who interact with the U.S. Government routinely entrust federal

agencies with sensitive personal information: Social Security numbers, home addresses, financial

records, and more. The government has codified its promise to treat their information with care

in the requirements of the Privacy Act. Today, Defendants are permitting Elon Musk and a cadre
of loyalists imported from his private companies to help themselves to the personal information


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of millions of Americans, in violation of those legal requirements. Plaintiffs in this case seek

immediate relief to stop the Defendants from further unlawful disclosures and halt the serious

harms that flow from the exposure and dissemination of sensitive personal information.

       2.      On January 20, 2025, President Trump issued an executive order refashioning the

United States Digital Services as the “U.S. DOGE Service,” ostensibly to promote government

efficiency. It has been widely reported that the DOGE effort is led by the world’s richest man,

Elon Musk, and a small team of DOGE representatives that he directs, including at least one 19-

year-old who had previously leaked proprietary information.

       3.      The White House has revealed little about the members of the DOGE and their

qualifications, training, or background. It is similarly unclear whether and to what extent the

members of the DOGE have been subject to the same rigorous background checks that federal

employees who have access to some of the government’s most sensitive and closely guarded data

systems undergo. Notwithstanding this, Defendants have provided representatives of the DOGE

with access to these systems, which includes Social Security numbers, bank account numbers,

dates and places of birth, and other extraordinarily sensitive records of millions of Americans.

       4.      Steamrolling into sensitive government record systems threatens to upend how

these critical systems are maintained and compromises the safety and security of personal

identifying information for Americans all across the country. It also violates federal law.
       5.      Collecting and securely maintaining sensitive personal information allows the

federal government to provide crucial services—from managing Social Security and veterans’

disability payments, to supporting Americans pursuing higher education and helping them access

health care.

       6.      The Privacy Act balances the government’s legitimate need for information about

individual Americans with the imperative to mitigate the risks inherent in collecting personal

information at scale. “Enacted in the wake of the Watergate and the Counterintelligence Program

(COINTELPRO) scandals involving illegal surveillance on opposition political parties and
individuals deemed to be ‘subversive,’ the Privacy Act sought to restore trust in government and


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to address what at the time was seen as an existential threat to American democracy.” Dep’t. of

Justice, Office of Privacy and Civil Liberties, Overview of the Privacy Act of 1974, p. 1 (2020

ed.). The statute carefully regulates the circumstances in which agency records about individuals

can be shared. Disclosures beyond what the statute authorizes are unlawful.

       7.      Defendants’ mass disclosure of personal information flies in the face of that legal

framework and tramples on the individual privacy rights and interests protected by the Privacy

Act. It also threatens real people, including individual Plaintiffs and members of the Plaintiff

Organizations (collectively, “Plaintiffs”), by exposing them to the risk of identity theft,

harassment, intimidation, and embarrassment.

       8.      For example, Defendants Treasury Department and Secretary of the Treasury

Bessent have improperly disclosed to DOGE representatives the contents of the Federal

Disbursement System, which is the government’s mechanism for sending payments it owes to

individual Americans (as well as other payees). That system contains records relating to every

American who receives (among other things) a tax refund, social security benefit, veterans pay,

or a federal salary. To facilitate these payments, the system maintains highly sensitive

information about millions of Americans, including Social Security numbers, date of birth, bank

account information, and home addresses.

       9.      Similarly, Defendants Department of Education and Acting Secretary of
Education Denise L. Carter have improperly disclosed information maintained in the National

Student Loan Data System. That system contains information on almost 43 million borrowers

and their families necessary to manage federal student loan programs. This includes sensitive

personal information such as Social Security numbers, bank records, tax returns, home addresses,

employment data, documentation of marital status, mortgage statements, bank records, tax

returns, child support, investments, family financial status and records, dependent care cost,

death, divorce, job loss, immigration status, and demographic data about student-borrowers—

and, often, also for their parents, spouses, or other family members.




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        10.     Defendants U.S. Office of Personnel Management and its Acting Director Charles

Ezell have improperly disclosed information in multiple sensitive record systems. Those records

contain information about the 2.3 million federal employees, as well as millions of other former

federal employees and job applicants. These files contain exceedingly sensitive personal

information: in addition to Social Security number, contact information, and demographic

information, they contain highly sensitive employment information.

        11.     All of these agencies have valid purposes for maintaining these record systems.

But that does not mean that Elon Musk or other DOGE representatives may have unlimited

access to them. The Privacy Act requires each of these agencies to provide access to records only

as part of the agencies’ routine work to advance the legitimate purposes for which the records are

maintained in the first place, or with the express written consent of the individual whose data is

being sought.

        12.     Representatives of the DOGE, however, do not believe themselves constrained by

those legitimate purposes or by the individual record-holders’ consent. They have accessed

Defendants’ data systems and the sensitive information contained within to “shut[] down”

payments and in the case of the Education Department, the agency itself.1

        13.     The risks to Americans whose sensitive information is improperly disclosed are

very real. Failing to handle these records according to established safeguards increases the risks
that external actors may access them. The personal data contained in these systems could readily

facilitate identity theft and other economic crimes, with potentially devastating consequences for

the victims.

        14.     These disclosures have directly harmed Plaintiffs. Plaintiffs include veterans who

receive benefit payments as provided by law, current and former federal employees whose

confidential employment files reside in the Office of Personnel Management’s (“OPM”) system,

and teachers, first responders, and health care workers whose pathway to careers in public

1
 Elon Musk (@elonmusk), X (Feb. 2, 2025, 3:14 AM), https://x.com/elonmusk/status/1885964969335808217; Elon
Musk (@elonmusk), X (Feb. 3, 2025, 8:30 PM), https://x.com/elonmusk/status/1886633448078475593.


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service included relying on student loans to fund their own educations. As to all of them, their

personal data has been improperly disclosed to DOGE representatives in a manner completely

divorced from the legitimate purposes for which it was maintained and in violation of their

privacy rights. Plaintiffs are anxious about the implications of this government-facilitated breach

of their personal information and uncertain about how their data is being used or who it will be

shared with and whether it will be weaponized against them. They are concerned that the breach

may well result in serious personal, social, and economic harm, from being targeted for

harassment and threats to doxxing, swatting, and identity theft.

       15.     The Administrative Procedure Act authorizes persons whose information has been

unlawfully disclosed in violation of the Privacy Act to seek injunctive relief. Doe v. Chao, 435

F.3d 492, 505 n.17 (4th Cir. 2006). Accordingly, Plaintiffs ask this Court to restore the privacy

they are entitled to under federal law by preventing further unauthorized and improper

disclosures and ensuring that improper disclosures to DOGE representatives stop immediately.

                                 JURISDICTION AND VENUE

       16.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331, because this action arises under the laws of the United States.

       17.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e)(1)(C) because

Defendants are officers and agencies of the United States, no real property is at issue in this case,
and one or more Plaintiffs are residents of this District.

                                             PARTIES

       18.     Plaintiff American Federation of Teachers (“AFT”) is a national labor

organization headquartered in Washington, D.C., representing over 1.8 million members who are

employed as pre-K through 12th-grade teachers, early childhood educators, paraprofessionals,

and other school-related personnel; higher education faculty and professional staff; federal, state,

and local government employees; and nurses and other healthcare professionals. For over a

decade the AFT has been fighting to help teachers and nurses burdened by student debt receive
Public Service Loan Forgiveness. The national union has hosted hundreds of student debt clinics


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for tens of thousands of its members. As part of those clinics, the AFT has helped its members

apply for the Public Service Loan Forgiveness Program, which is administered by the

Department of Education. AFT members have records housed within OPM and Department of

Education record systems and receive payments of various kinds from the United States

Treasury. AFT also advocates for the ethical use of artificial intelligence and enforcement of

government regulations that protect its members’ personal data.2

         19.      Plaintiff National Active and Retired Federal Employees Association

(“NARFE”) is a nonprofit organization founded in 1921, incorporated in the District of

Columbia, and headquartered in Alexandria, Virginia, with a membership of approximately

128,000 current and former federal employees as well as spousal annuitants. NARFE’s mission

is to promote the general welfare of current federal civilian employees and federal retirees and

their survivors, to advise and assist them with respect to their federal benefits, to represent their

interests before appropriate authorities, and to support legislation and regulations beneficial to

such employees and retirees and to oppose those detrimental to their interests. NARFE’s

members have records housed within OPM and Department of Education record systems and

receive payments of various kinds from the United States Treasury. NARFE’s advocacy efforts

include calling on federal agencies to take reasonable steps to protect the privacy of NARFE

members’ digital information.3
         20.      Plaintiff International Association of Machinists and Aerospace Workers

(“IAM”) is an international labor organization and unincorporated membership organization

headquartered in Upper Marlboro, Maryland. IAM is one the largest and most diverse labor

unions in North America with nearly 600,000 active and retired members. Among IAM’s

affiliate organizations is the National Federation of Federal Employees (“NFFE”), which is a

national labor organization and unincorporated membership organization headquartered in

2
  See, e.g., The Future of Public Work: Artificial Intelligence, Algorithms & Data Protection in a Digital Age, Am.
Fed’n Tchrs. (July 17, 2022), https://www.aft.org/resolution/future-public-work-artificial-intelligence-algorithms-
and-data-protection.
3
  See, e.g., Updates on OPM Cybersecurity Incident, Nat’l Active & Retired Fed. Emps. Ass’n (Jan. 10, 2019),
https://www.narfe.org/blog/2019/01/10/updates-on-opm-cybersecurity-incident.


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Washington, D.C. Together, IAM and NFFE represent more than 100,000 federal workers,

approximately 13,000 of whom are dues-paying members, from agencies across the federal

government. IAM and NFFE also represent many veterans and veterans’ groups, advocate on

their behalf, and assist them in receiving their benefits, among other services. IAM and NFFE

members have records housed within OPM and Department of Education record systems and

receive payments of various kinds from the United States Treasury. IAM and NFFE advocacy

efforts include assisting their members in seeking redress for federal agencies’ unlawful

disclosures of members’ sensitive data.4

           21.      Plaintiff Jason Cain is a resident of North Carolina and currently works as an

instructor of political science. He served for 10 years in the U.S. Army, as Sergeant First Class in

the U.S. Army Special Operations Command and the 82nd Airborne and had a Top Secret

security clearance. He receives financial benefits from the federal government, including VA

disability benefits. He previously received GI bill benefits, student loans, and a VA home loan

from the federal government. As a result of his military service, employment in the civil service,

and financial benefits, federal government agencies, including Defendants OPM and the

Departments of Education and Treasury, have sensitive personal information about him in their

record systems. When his VA account was previously hacked, and his disability and education

benefits diverted to criminal enterprises, Plaintiff Cain experienced the fear and helplessness of
having his personal information compromised. He is anxious about repeating this experience

based on this unauthorized access to his personal information. He is outraged that such a grave

breach of his privacy took place, given the extreme caution with which he was required to handle

sensitive information during his service in the military and at the VA.

           22.      Plaintiff Kristofer Goldsmith is a resident of New York and currently works as

the head of a nonprofit organization combating domestic extremists. He is a military veteran of

the U.S. Army, was deployed to Iraq in 2005, and left the Army as a Sergeant. He receives


4
    See, e.g., Privacy Rights, Nat’l Fed’n Fed. Emps., https://nffe.org/members-center/privacy-rights.


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financial benefits from the federal government, including VA disability benefits. He has also

previously received student loans from the federal government. As a result of his military service

and financial benefits, federal government agencies, including Defendants Departments of

Education and Treasury, have sensitive personal information about him in their record systems.

Plaintiff Goldsmith is deeply concerned that his personal information is compromised, and may

be exploited by domestic extremist organizations to harass, intimidate, and harm him and his

family. These concerns are even more acute in light of the presidential pardons of many domestic

extremists, with Musk’s apparent support.

       23.     Plaintiff Clifford “Buzz” Grambo is a resident of Maryland and is currently

retired. He is a military veteran who served in the U.S. Navy for 20 years, retiring as Chief Petty

Officer. He receives financial benefits from the federal government, including VA disability

benefits and a military pension. Because of these financial benefits from his military service,

federal government agencies, including Defendant Treasury, have sensitive personal information

about him in their record systems. Plaintiff Grambo believes that the unauthorized access to his

and others’ personal information poses a national security risk.

       24.     Plaintiff Thomas Fant is a resident of Massachusetts and is currently retired. He

is a military veteran of the U.S. Coast Guard, from which he was medically discharged. He

receives financial benefits from the federal government, including VA disability benefits.
Because of these financial benefits from his military service, federal government agencies,

including Defendant Treasury, have sensitive personal information about him in their record

systems. Plaintiff Fant is apprehensive and anxious that the unauthorized access to his and

others’ personal information will enable third parties affiliated with DOGE representatives to

profit at the expense of him and other Americans.

       25.     Plaintiff Donald Martinez is a resident of Colorado and currently works as a

rancher. He is a military veteran of the U.S. Army, and had two deployments to Iraq as a Field

Artillery Officer with a Top Secret/Sensitive Compartmented Information security clearance.
During his service, he sustained a traumatic brain injury and was medically retired. He receives


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financial benefits from the federal government, including veterans’ benefits, Social Security

Disability Insurance/Medicare, Combat Related Special Compensation, and a VA home loan.

Apart from his military service, Plaintiff Martinez also worked for the Federal Emergency

Management Agency. And he received student loans from the federal government. As a result of

his military service, employment in the civil service, and financial benefits, federal government

agencies, including Defendants OPM and Departments of Education and Treasury, have

sensitive personal information about him in their record systems. Especially because of his

previous military service in a geographically sensitive area and involvement in high-level

negotiations because of which he received death threats from terrorists, Plaintiff Martinez is

worried that unauthorized access and disclosure of his personal information held within the

federal government will compromise his personal safety and security.

       26.     Plaintiff Christopher Purdy is a resident of Georgia and currently works as the

head of a nonprofit organization. He served for eight years in the Army National Guard, where

he was deployed to Iraq in 2011. He receives financial benefits from the federal government,

including VA disability benefits. He previously also received a VA home loan and student loans

from the federal government. As a result of his military service and financial benefits, federal

government agencies, including Defendants Departments of Education and Treasury, have

sensitive personal information about him in their record systems. Plaintiff Purdy is distressed that
the breach of his personal information by unauthorized parties makes it more vulnerable to being

released to the public, which could cause him severe economic harm. He is also very worried

that Musk and DOGE may use their unauthorized access to his personal information to stop his

VA disability payments, a major source of income in his household.

       27.     Defendant the United States Department of the Treasury (“Treasury”) is an

agency of the United States.

       28.     Defendant Scott Bessent is sued in his official capacity as the Secretary of the

Treasury.




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          29.   Defendant the Office of Personnel Management is an agency of the United

States.

          30.   Defendant Charles Ezell is the Acting Director of the Office of Personnel

Management (“OPM”) and is sued in his official capacity.

          31.   Defendant United States Department of Education is an agency of the United

States.

          32.   Defendant Denise Carter is the Acting Secretary of Education and is sued in her

official capacity.

                                     FACTUAL ALLEGATIONS

Establishment of DOGE

          33.   On January 20th, 2025, President Trump signed an executive order replacing the

United States Digital Services with the “United States DOGE Service,” which serves as the

parent agency for the new “U.S. DOGE Service Temporary Organization.”5 The order called for

DOGE to “implement the President’s DOGE Agenda, by modernizing Federal technology and

software to maximize governmental efficiency and productivity.”6

          34.   Even before the inauguration, President Trump announced that Elon Musk would

lead the DOGE effort. It has been publicly reported that Musk directly leads and supervises

activities of DOGE and its team.7 According to the White House, Musk now serves as a Special
Government Employee.8

          35.   The order establishing DOGE also provided for “DOGE teams” of at least four

employees, which can include Special Government Employees, to be embedded within Federal

agencies. Special Government Employee is a temporary employment status typically used for

5
  Madeleine Ngo & Theodore Schleifer, How Trump’s Department of Government Efficiency Will Work, N.Y. Times
(Jan. 21, 2025), https://www.nytimes.com/2025/01/21/us/politics/doge-government-efficiency-trump-musk.html
6
  Executive Order, Establishing and Implementing The President’s “Department of Government Efficiency” The
White House (Jan. 20, 2025), https://www.whitehouse.gov/presidential-actions/2025/01/establishing-and-
implementing-the-presidents-department-of-government-efficiency.
7
  Bobby Allyn & Shannon Bond, Elon Musk Is Barreling into Government With DOGE, Raising Unusual Legal
Questions, NPR (Feb. 3, 2025), https://www.npr.org/2025/02/03/nx-s1-5285539/doge-musk-usaid-trump.
8
  Kaitlan Collins & Tierney Sneed, Elon Musk Is Serving as a ‘Special Government Employee,’ White House Says,
CNN (Feb. 3, 2025), https://www.cnn.com/2025/02/03/politics/musk-government-employee/index.html.


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outside advisors, experts or consultants appointed to work on a short-term basis within the

federal government. They are exempt from some federal ethics rules.

        36.      DOGE representatives within the government are a combination of friends and

former employees of Musk and his companies and a cadre of young adult software engineers,

including college students and at least one teenager, whose identities the White House and

DOGE have sought to conceal.9

The Privacy Act’s Prohibitions on Disclosure of Records Without Express Written Consent

        37.      “The Privacy Act directs agencies to establish safeguards to protect individuals

against the disclosure of confidential records ‘which could result in substantial harm,

embarrassment, inconvenience, or unfairness to any individual on whom information is

maintained.’” F.A.A. v. Cooper, 566 U.S. 284, 294-95 (2012) (quoting 5 U.S.C. § 552a(e)(1)). It

does that by providing a legal framework for how the government handles sensitive records

about Americans in a manner that protects their significant privacy rights.

        38.      The Privacy Act states, “No agency shall disclose any record which is contained

in a system of records by any means of communication to any person, or to another agency”

without consent of the individual whose information is in the record, subject to twelve statutory

exceptions.10

        39.      Under the Privacy Act, a system of records is “a group of any records under the
control of an agency from which information is retrieved by the name of the individual or …

other identifying particular assigned to the individual.”11

        40.      A record is “any item, collection, or grouping of information about an individual

that is maintained by an agency, including, but not limited to, his education, financial

transactions, medical history, and criminal or employment history and that contains his name, or




9
  Theodore Schleifer et al., Young Aides Emerge as Enforcers in Musk’s Broadside Against Government, N.Y.
Times (Feb. 7, 2025), https://www.nytimes.com/2025/02/07/us/politics/musk-doge-aides.html.
10
   5 U.S.C. § 552a(b).
11
   5 U.S.C. § 552a(5).


                                                      12
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the identifying number, symbol, or other identifying particular assigned to the individual, such as

a finger or voice print or a photograph.”12

        41.      Office of Management and Budget (“OMB”) guidelines state that disclosure

under the Privacy Act “may be either the transfer of a record or the granting of access to a

record.”13 Disclosure can be written, oral, electronic, or a mechanical transfer between computers

of record content.14

        42.      The Privacy Act specifies when individual information maintained in an agency

record system may be disclosed. It does not prohibit disclosures to employees of the maintaining

agency “who have a need for the record in the performance of their duties.”15

        43.      Similarly, the Privacy Act does not prohibit disclosures made for a “routine use,”

defined as “the use of such record for a purpose which is compatible with the purpose for which

it was collected.”16 Agencies must publish a Statement of Record Notice (“SORN”) identifying

all possible routine uses of a system of records.17

        44.      Additionally, the Privacy Act mandates that “Each agency that maintains a system

of rec-ords shall . . . establish appropriate administrative, technical, and physical safeguards to

insure the security and confidentiality of records and to protect against any anticipated threats or

hazards to their security or integrity which could result in substantial harm, embarrassment,

inconvenience, or unfairness to any individual on whom information is maintained[.]”18
The Treasury Department’s Federal Disbursement Services

        45.      The Federal Disbursement Services (“FDS”), which is housed within the Treasury

Department’s Bureau of the Fiscal Service (the “Fiscal Service”), provides critical payment

services for hundreds of federal agencies, allowing them to disburse payments such as Social



12
   5 U.S.C. § 552a(a)(4).
13
   OMB Guidelines, 40 Fed. Reg. 28,948, 28,953 (July 9, 1975).
14
   Id.
15
   5 U.S.C. § 552a(b)(1).
16
   5 U.S.C. § 552a(a)(7).
17
   Id.
18
   5 U.S.C. § 552a(e)(10).


                                                       13
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Security benefits, federal income tax refunds, and veterans’ pay, on which more than 70 million

Americans rely.19

        46.      In fiscal year 2024, FDS disbursed more than 1.27 billion payments, valued at

more than $5.45 trillion.20

        47.      The payment systems that make up FDS contain extensive amounts of sensitive,

personally identifiable information (“PII”). This includes name, Social Security number, date and

location of birth, physical address, telephone number, and financial institution information,

among many other pieces of PII.21 Within the payment systems, there is PII for tens of millions

of individuals, if not more.22

        48.      Historically, “only a small group of career employees” has operated the payment

systems.23 It is “extremely unusual” for “anyone connected to political appointees” to request or

gain access to the payment systems.24 Payment system access is strictly limited to “[o]nly

employees whose official duties require access.”25

        49.      The Fiscal Service does not play a discretionary role in providing payment

services. Rather, when federal agencies provide the Fiscal Service with a payment voucher to

disburse money to a recipient and the Fiscal Service verifies that the voucher has been completed

properly, payment systems within Fiscal Service issue the disbursement without exercising

independent judgment.26 Stated differently, the Fiscal Service’s routine use of the FDS is limited
to issuing disbursements requested by various federal agencies.



19
   See U.S. Dep’t Treasury, Federal Disbursement Services (FDS), (last modified Oct. 15, 2024),
https://fiscal.treasury.gov/fds/; Monthly Statistical Snapshot, December 2024, Social Security Administration (Jan.
2025), https://www.ssa.gov/policy/docs/quickfacts/stat_snapshot/.
20
   Id.
21
   U.S. Dep’t Treasury, Notice of a Modified System of Records. 85 Fed. Reg. 11,776, 11,778 (Feb. 27, 2020).
22
   U.S. Dep’t Treasury, Privacy and Civil Liberties Impact Assessment: Payment Automation Manager (Jul. 11,
2019), https://www.fiscal.treasury.gov/files/pia/pampclia.pdf.
23
   Jacqueline Alemany et al., Senior U.S. Official Exits After Rift with Musk Allies over Payment System, WASH.
POST (Jan. 31, 2025), https://www.washingtonpost.com/business/2025/01/31/elon-musk-treasury-department-
payment-systems.
24
   Id.
25
   85 Fed. Reg. 11,776, 11,778.
26
   See 31 U.S.C. § 3325(a).


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DOGE’s Repeated Efforts to Improperly Access the Federal Disbursement Services

        50.      For months, individuals affiliated with the initiative that would later become

DOGE have worked to gain access to the Federal Disbursement System.27 Indeed, soon after the

November 2024 election, they asked for access to the system in an effort to have the Treasury

Department serve as a “chokepoint” on payments.28

        51.      David A. Lebryk, a senior career civil servant at Treasury, denied all of DOGE’s

requests for access to the sensitive personal data stored on the FDS. On January 24, 2025,

DOGE-related officials asked Lebryk, at the time Acting Secretary of the Treasury, to

“immediately shut off all USAID payments using [Treasury’s] ultra-sensitive payment

processing system.”29 Lebryk refused to do so on the grounds that stopping payments other

federal agencies have requested is not within the Treasury’s purview or part of its practice.30

Lebryk was subsequently placed on administrative leave and later announced his retirement.31

        52.      On or before January 31, 2025, and following Lebryk’s placement on

administrative leave, at least two people affiliated with DOGE gained access to the Federal

Disbursement System.32 They included Tom Krause, the CEO of Cloud Software Group, and

Marko Elez, a 25-year-old DOGE staffer and Elon Musk deputy.33 The government has claimed

that both Krause and Elez were appointed as Special Government Employees in the Treasury

Department.




27
   Jacqueline Alemany et al., Senior U.S. Official Exits After Rift with Musk Allies over Payment System, WASH.
POST (Jan. 31, 2025), https://www.washingtonpost.com/business/2025/01/31/elon-musk-treasury-department-
payment-systems.
28
   Katelyn Polantz, Phil Mattingly & Tierney Sneed, How an Arcane Treasury Department Office Became Ground
Zero In The War Over Federal Spending, CNN (Feb. 1, 2025), https://www.cnn.com/2025/01/31/politics/doge-
treasury-department-federal-spending.
29
   Id.
30
   Id.
31
   Andrew Duehren et al., Treasury Official Quits After Resisting Musk’s Requests on Payments, N.Y. TIMES (Jan.
31, 2025), https://www.nytimes.com/2025/01/31/us/politics/david-lebryk-treasury-resigns-musk.html.
32
   Andrew Duehren et al., Elon Musk’s Team Now Has Access to Treasury’s Payments System, N.Y. TIMES (Feb. 1,
2025), https://www.nytimes.com/2025/02/01/us/politics/elon-musk-doge-federal-payments-system.html.
33
   Tobias Burns, DOGE Staffer Who Accessed Treasury Department Payment Systems Resigns after Racist Posts
Exposed, THE HILL (Feb. 6, 2025), https://thehill.com/business/5131442-elon-musk-deputy-resign.


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        53.      The day after Krause and Elez gained access to the payment systems, Musk

posted on X that DOGE representatives “discovered” that “payment approval officers at

Treasury were instructed always to approve payments, even to known fraudulent or terrorist

groups.”34

        54.      On February 2, 2025, Musk posted on X that “[c]areer Treasury officials are

breaking the law every hour … by approving payments that are fraudulent” and this had to “stop

NOW!”35 The same day, Musk replied to a post on X criticizing funding to specific religiously

affiliated non-profit organizations and stated that “[t]he @DOGE team is rapidly shutting down

these illegal payments.”36

        55.      On February 3, 2025, White House Press Secretary Karoline Leavitt said DOGE

staff had been granted read-only access to the Treasury payments system.37 A letter from the

Treasury Department to members of Congress on February 4, 2025 reiterated that Treasury staff

working with Krause would have read-only access to the coded data of the payment systems.38

The letter further stated that this was the type of access provided to individuals reviewing

Treasury systems, such as auditors.

        56.      On February 4, 2025, WIRED reported that, contrary to Leavitt’s and Treasury’s

representations, Elez possessed read and write access to Treasury Department payment

systems.39 Elez’s administrative-level privileges reportedly included the ability to write code on
the Payment Automation Manager (PAM) and Secure Payment System (SPS) at the Bureau of

the Fiscal Service (BFS). WIRED reported that “[t]ypically, those admin privileges could give

someone the power to . . . change user permissions, and delete or modify critical files.”



34
   Elon Musk (@elonmusk), X (Feb. 1, 2025, 1:52 AM), https://x.com/elonmusk/status/1885582076247712229.
35
   Elon Musk (@elonmusk), X (Feb. 2, 2025, 2:27 PM), https://x.com/elonmusk/status/1886134485822922785.
36
   Elon Musk (@elonmusk), X (Feb. 2, 2025, 3:14 AM), https://x.com/elonmusk/status/1885964969335808217.
37
   Jonathan Swan et al., Inside Musk’s Aggressive Incursion Into the Federal Government, N.Y. TIMES (Feb. 3,
2025), https://www.nytimes.com/2025/02/03/us/politics/musk-federal-government.html.
38
   U.S. Dep’t Treasury, Treasury Department Letter to Members of Congress Regarding Payment Systems (Feb. 4,
2025), https://home.treasury.gov/news/press-releases/sb0009.
39
   Vittoria Elliott et al., A 25-Year-Old With Elon Musk Ties Has Direct Access to the Federal Payment System,
WIRED (Feb. 4, 2025), https://www.wired.com/story/elon-musk-associate-bfs-federal-payment-system/


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Defendants’ Disclosure of Information in the FDS to DOGE Officials Violates the Privacy

Act

        Payment Systems Within the FDS Are a System of Records

        57.      Multiple payment systems within FDS are systems of records, as certified by the

Chief Privacy Officer of the Fiscal Service.40 The Fiscal Service has published a Systems of

Records Notice (SORN) for these payment systems.41

        58.      The information in specific payment systems within FDS, including the Secure

Payment System, the Invoice Processing Platform, and the Automated Standard Application for

Payments, among others, is retrieved by an “identifying particular” assigned to an individual.42

        59.      The payment systems maintained within FDS contain extensive personally

identifiable information about individuals, including but not limited to Social Security numbers,

sensitive financial information, and addresses.43

        Providing DOGE Representatives with Direct Access to the FDS is a “Disclosure”

        Under the Privacy Act

        60.      Representatives of DOGE were granted access to payment systems within FDS

and the records and data therein on January 31, 2025.44 That access qualifies as a disclosure

under the Privacy Act.

        61.      None of the individual Plaintiffs, and on information and belief, none of the
members of the Plaintiff Organizations requested disclosure or provided express written consent

to the disclosure of their records and information to DOGE representatives.




40
   See, e.g., Privacy and Civil Liberties Impact Assessment: Secure Payment System, U.S. Dep’t Treasury (Mar. 22,
2021), https://www.fiscal.treasury.gov/files/pia/spspclia.pdf.
41
   85 Fed. Reg. 11,776.
42
   See, e.g., Privacy and Civil Liberties Impact Assessment: Secure Payment System, U.S. Dep’t Treasury (Mar. 22,
2021), https://www.fiscal.treasury.gov/files/pia/spspclia.pdf.
43
   85 Fed. Reg. 11,776.
44
   Andrew Duehren et al., Elon Musk’s Team Now Has Access to Treasury’s Payments System, N.Y. Times, (Feb. 1,
2025), https://www.nytimes.com/2025/02/01/us/politics/elon-musk-doge-federal-payments-system.html.


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         DOGE Representatives Do Not Require Access to the FDS in the Performance of Their

Duties

         62.      The New York Times recently reported that “Musk allies who have been granted

access to the payment system were made Treasury employees.”45

         63.     The Privacy Act’s exception for disclosures to employees who need the record “in

the performance of their duties” does not apply. Even if Krause and Elez were Treasury

employees at the time Defendants provided them with access to the FDS, Musk’s stated purpose

for that access, which is to stop “approving” all payments,46 is incompatible with any legitimate

duties of the Department of the Treasury with respect to the FDS.

         64.     The Treasury Department maintains the relevant record systems so that it may, in

a non-discretionary manner, send out payments approved by other federal agencies.47 Consistent

with the Treasury Department’s limited role in the payment disbursement process, FDS’s

payment systems are designed to “facilitate” payments from federal government entities to their

recipients.48 Stated differently, the payment systems contained within the FDS serve as

processing centers that enact disbursement requests received from agencies; they are not

independent centers of review.49

         Defendants’ Disclosures of FDS Information to DOGE Representatives is Not a “Routine

Use” of the Protected Information
         65.     The Privacy Act’s “routine use” exception also does not apply. The SORN for

payments systems within FDS lists 19 possible routine uses, none of which apply to DOGE

staffers’ access to FDS.50

         66.     For example, representatives of DOGE are not accessing FDS records on behalf

45
   Id.
46
   Elon Musk (@elonmusk), X (Feb. 2, 2025, 2:27 PM), https://x.com/elonmusk/status/1886134485822922785.
47
   See 31 U.S.C. § 3325(a); U.S. Dep’t Treasury, Treasury Department Letter to Members of Congress Regarding
Payment Systems (Feb. 4, 2025), https://home.treasury.gov/news/press-releases/sb0009 (“To be clear, the agency
responsible for making the payment always drives the payment process.”).
48
   85 Fed. Reg. 11,776, 11,778.
49
   U.S. Dep’t Treasury, Privacy and Civil Liberties Impact Assessment: Secure Payment System (Mar. 22, 2021),
https://www.fiscal.treasury.gov/files/pia/spspclia.pdf.
50
   85 Fed. Reg. 11,776, 11,778.


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of the banking industry, an investigative agency, an agency responsible for law enforcement, a

court, a foreign government, a congressional office, a union, a third party during the course of an

investigation, a federal creditor agency, a state, debt collectors, or representatives of the National

Archives and Records Administration.51

        67.     Representatives of DOGE also are not responding to a suspected or confirmed

“breach of the system of records,”52 or “ensuring the efficient administration” of “payment

processing services.”53

        68.     Rather, representatives of DOGE intend to change the purpose of payment

systems within FDS to “scrutinize[]” payments and “pause” those they deem “improper,” rather

than disburse payments in a non-discretionary manner.54 Consistent with this, Musk has

indicated that DOGE officials are looking to control, and potentially cut off, disbursements from

the Bureau of the Fiscal Service.55 This is not a routine use listed in the SORN that would

authorize Defendants’ disclosure of sensitive personal and financial data to DOGE

Representatives.56 Nor could it be, given the Treasury’s practice and policies regarding use of the

FDS to fulfill its duty to disburse payments approved by other agencies.

        69.     None of the other statutory exceptions for disclosure of personal information set

forth in the Privacy Act applies or would have applied to authorize Defendants Bessell’s and the

Treasury’s decision to disclose the sensitive information and data contained within the FDS to
DOGE representatives.

U.S. Office of Personnel Management Federal Work Force Files

        70.     OPM serves as the “chief human resources agency and personnel policy manager

for the Federal Government.”57

51
   See id.
52
   Id.
53
   Id.
54
   Andrew Duehren et al., Elon Musk’s Team Now Has Access to Treasury’s Payments System, N.Y. TIMES (Feb. 1,
2025), https://www.nytimes.com/2025/02/01/us/politics/elon-musk-doge-federal-payments-system.html. ; Elon
Musk (@elonmusk), X (Feb. 3, 2025, 11:43 AM), https://x.com/elonmusk/status/1886455404713943058.
55
   Elon Musk (@elonmusk), X (Feb. 2, 2025, 3:14 AM), https://x.com/elonmusk/status/1885964969335808217.
56
   85 Fed. Reg. 11,776.
57
   About Us, U.S. Off. Personnel Mgmt., https://www.opm.gov/about-us.


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        71.      As part of its workforce management responsibilities, OPM maintains systems

that are responsible for “government-wide personnel management activities,” such as tracking

human resource and payroll data, operating centralized application and hiring systems for federal

government jobs, and managing health benefits for more than 8 million federal civilian

employees and other eligible individuals.58

        72.      The systems that OPM operates and maintains contain extensive amounts of

sensitive PII. This includes name, Social Security number, employment history, address,

telephone number, demographic information, and disability status, among many other pieces of

PII.59 Within the OPM systems, there is PII for tens of millions of individuals, if not more,

including current and former federal employees and applicants to jobs at more than 500 federal

agencies.60

        73.      It has been reported that access to these OPM systems is generally held only by

“senior career employees” at OPM.61 Some subsets of records in OPM systems are subject to

even stricter access restrictions, such as those in the Health Insurance Data Warehouse, which

are generally confined to “a limited number of well-trained [health insurance] analysts.”62


58
   Privacy Impact Statement for Health Insurance Data Warehouse, U.S. Off. Personnel Mgmt. (July 2, 2021),
https://www.opm.gov/information-management/privacy-policy/privacy-policy/hidw-pia.pdf [hereinafter HIDW
PIA]; Privacy Impact Assessment for USAJOBS, U.S. Off. Personnel Mgmt. (July 8, 2020),
https://web.archive.org/web/20241228071153/https://www.opm.gov/information-management/privacy-
policy/privacy-policy/usajobs-pia.pdf; Privacy Impact Statement for Enterprise Human Resources Integration Data
Warehouse, U.S. Off. Personnel Mgmt. (July 11, 2019), https://www.opm.gov/information-management/privacy-
policy/privacy-policy/ehridw.pdf.
59
   Privacy Impact Assessment Summaries, U.S. Off. Personnel Mgmt., https://www.opm.gov/information-
management/privacy-policy/#url=PIAs.
60
   U.S. Gov. Accountability Off., USAJOBS Website: OPM Has Taken Actions to Assess & Enhance the User
Experience (Oct. 2020), https://www.gao.gov/assets/gao-21-
31.pdf#:~:text=approximately%2017.5%20million%20job%20applications%20were%20started,applicants%20are%
20deemed%20qualified%20and%20which%20are; HIDW PIA, supra note 58.
61
   Tim Reid, Exclusive: Musk Aides Lock Workers Out of OPM Computer Systems, Reuters (Feb. 2, 2025),
https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-us-agency-sources-
say-2025-01-31; see, e.g., HIDW PIA, supra note 58, at 9 (noting that “only a limited number of well-trained
[health-insurance] analysts have access to the information in the [Health Insurance Data Warehouse system].”);
Privacy Impact Assessment for the Payment Processing Automation Initiative, U.S. Off. Personnel Mgmt. at 8 (June
3, 2020), https://www.opm.gov/information-management/privacy-policy/privacy-policy/ppai-olbp.pdf (noting
“access controls that limit access to only those with a need to know and only with access appropriate to their roles
and responsibilities”).
62
   HIDW PIA, supra note 58.


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DOGE’s Efforts to Improperly Access OPM Systems

        74.      Shortly after the inauguration of President Trump, civil servants within OPM

received instructions to provide access to the sensitive OPM systems to DOGE representatives.63

        75.      On information and belief, DOGE representatives have gained sweeping access to

highly sensitive record systems within the last few weeks. The Washington Post reported on

February 6:

        At least six DOGE agents were given broad access to all personnel systems at the
        OPM on the afternoon of Jan. 20, the day of Trump’s inauguration, according to
        two agency officials. Three more gained access about a week later, they said.

        The data that the DOGE team can access includes a massive trove of personal
        information for millions of federal employees, included in systems called
        Enterprise Human Resources Integration and Electronic Official Personnel Folder.
        It also includes personal information for anyone who applied to a federal job
        through the site USAJobs, the people said. Last year alone, the people said, there
        were 24.5 million such applicants.

        The two OPM officials said the level of access granted to DOGE agents means they
        could copy the Social Security number, phone numbers and personnel files for
        millions of federal employees.64
        76.      The access instructions specified that DOGE representatives should have “admin

user” access that allowed them to “code read and write permissions,” in essence allowing these

officials to “make updates to anything that they want.”65

        77.      Defendants OPM and Acting Director Ezell provided DOGE representatives,

including a recent high school graduate, with access to these sensitive systems and databases,

including USAJOBS, the Enterprise Human Resources Integration Data Warehouse (“EHRI

DW”), USA Staffing, USA Performance, and the Health Insurance Data Warehouse (“HIDW”),

and the personally identifiable information contained within.66


63
   Caleb Ecarma & Judd Legum, Musk Associates Given Unfettered Access to Private Data of Government
Employees, Popular Info. (Feb. 3, 2025), https://popular.info/p/musk-associates-given-unfettered.
64
   Isaac Stanley-Becker et al., Musk’s DOGE Agents Access Sensitive Personnel Data, Alarming Security Officials,
Wash. Post (Feb. 6, 2025), https://www.washingtonpost.com/national-security/2025/02/06/elon-musk-doge-access-
personnel-data-opm-security.
65
   Ecarma & Legum, supra note 63.
66
   Id.


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        78.     In late January, career officials who have long had access to these systems had

their permissions “revoked.”67

        79.     DOGE representatives at OPM have since used their access to examine job

description data and “remove” specific government employees.68 On February 8, 2025, the

Washington Post reported that access to EHRI DW and the Electronic Official Personnel Folder

was revoked for “some” DOGE agents.69

Defendants’ Disclosure of Information in OPM Systems to DOGE Representatives Violates

the Privacy Act

        OPM Systems Contain Systems of Records

        80.     The systems to which DOGE-related officials have access within OPM, including

USAJOBS, EHRI DW, USA Staffing, USA Performance, and HI DW (collectively, “OPM

Systems”), are systems of records, as certified by the Chief Privacy Officer of OPM.70 OPM has

published a SORN for these record systems.71

        81.     The information in the OPM Systems is retrieved by “an identifying particular”

assigned to an individual.72

        82.     The systems within OPM contain extensive personally identifiable information

about individuals, including but not limited to Social Security number, employment history, and

addresses.73



67
   Tim Reid, Exclusive: Musk Aides Lock Workers Out of OPM Computer Systems, Reuters (Feb. 2, 2025),
https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-us-agency-sources-
say-2025-01-31.
68
   Ecarma & Legum, supra note 63.
69
   Isaac Stanley-Becker and Hannah Natanson, Some DOGE agents removed from sensitive personnel systems after
security fears, Washington Post (Feb. 8, 2025), https://www.washingtonpost.com/nation/2025/02/08/doge-opm-
musk/.
70
   Privacy Policy, U.S. Off. Personnel Mgmt., https://www.opm.gov/information-management/privacy-
policy/#url=PIAs
71
   System of Records Notices (SORN), U.S. Off. Personnel Mgmt., https://www.opm.gov/information-
management/privacy-policy/#url=SORNs.
72
   OPM SORN GOVT-2 Employee Performance File System Records, U.S. Off. Personnel Mgmt.,
https://www.opm.gov/information-management/privacy-policy/sorn/opm-sorn-govt-2-employee-performance-file-
system-records.pdf.
73
   See, e.g., HIDW PIA, supra note 58.


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        Providing DOGE Representatives with Direct Access to Specific OPM Systems is a

        Disclosure Under the Privacy Act

        83.      Representatives of DOGE were granted access to personnel- and benefit-related

systems within OPM and the records therein on or before January 31, 2025.74 That access

qualifies as a disclosure under the Privacy Act.

        84.      DOGE representatives within OPM have “‘review[ed] position description level

data,’” an act that would involve information retrieval from systems within OPM.75

        85.      Disclosure can be written, oral, electronic, or a mechanical transfer between

computers of record content.76

        86.      None of the individual Plaintiffs, and on information and belief, none of the

members of the Plaintiff Organizations requested disclosure or provided express written consent

to the disclosure of their records and information to DOGE representatives. As such, Defendants’

continued and ongoing disclosure of their records to DOGE representatives constitutes a

violation of the Privacy Act, for which no exception applies.

        DOGE Representatives Do Not Require Access to the FDS in the Performance of Their

        Duties

        87.      It has been reported that the DOGE representatives who have been provided by

Defendants with access to the OPM systems are “political appointees” at OPM.77 However, it has
also been reported that DOGE representatives “have received official government credentials,

including official email addresses, at multiple agencies.”78 For example, some DOGE

representatives in the Department of Education’s internal address book “also have GSA or OPM




74
   See Tim Reid, Exclusive: Musk Aides Lock Workers Out of OPM Computer Systems, REUTERS (Feb. 2, 2025),
https://www.reuters.com/world/us/musk-aides-lock-government-workers-out-computer-systems-us-agency-sources-
say-2025-01-31.
75
   Ecarma & Legum, supra note 63.
76
   OMB Guidelines, 40 Fed. Reg. 28,948, 28,953 (July 9, 1975).
77
   Ecarma & Legum, supra note 63.
78
   Washington Post Staff, Elon Musk’s DOGE Has Swept into 15 Federal Agencies. Here’s What to Know., WASH.
POST (Feb. 8, 2025), https://www.washingtonpost.com/business/2025/02/04/elon-musk-government-legal-doge.


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email addresses,” seemingly holding themselves out as employees of multiple agencies at the

same time, while ultimately serving DOGE’s mission.

        88.      The Privacy Act’s exception for disclosures to employees who need the record “in

the performance of their duties” does not apply to the disclosures here. On information and

belief, DOGE’s purpose for accessing that data is to significantly “restructur[e]” the government

by “push[ing]” out employees.79

        Defendants’ Disclosures of Specific OPM Systems to DOGE Officials is Not a “Routine

        Use” of the Protected Information

        89.      The Privacy Act’s “routine use” exception also does not apply. The SORNs for

specific systems within OPM, namely USAJOBS, EHRI DW, USA Staffing, USA Performance,

and HI DW, list 114 overlapping possible routine uses, none of which apply here.80

        90.      For example, representatives of DOGE are not accessing OPM records on behalf

of a training facility, educational institution, foreign government official, agency adjudicating

benefit claims, agency choosing to honor employees, labor organization official, the Merit

Systems Protection Board, or the Equal Employment Opportunity Commission, among others.81

        91.      Rather, on information and belief, representatives of DOGE intend to misuse

OPM’s systems to indiscriminately remove individuals from their positions en masse.82 This is

not a routine use listed in the SORNs.83


79
   Id.; Reuters, Musk’s DOGE agents access sensitive government personnel data, Washington Post reports (Feb. 6,
2025), available at https://www.reuters.com/world/us/musks-doge-agents-access-sensitive-opm-personnel-data-
washington-post-reports-2025-02-06/.
80
   See Privacy Act of 1974: Update and Amend System of Records, 79 Fed. Reg. 16834 (March 26, 2014); OPM
GOVT-2 Applicant Race, Sex National Origin, & Disability Status Records, U.S. Off. Personnel Mgmt.,
https://www.opm.gov/information-management/privacy-policy/sorn/opm-sorn-govt-7-applicant-race-sex-national-
origin-and-disability-status-records.pdf; Privacy Act of 1974: Update Existing System of Records, 77 Fed. Reg.
73694 (Dec. 11, 2012); OPM GOVT-6 Personnel Research & Test Validation Records, U.S. Off. Personnel Mgmt.,
https://www.opm.gov/information-management/privacy-policy/sorn/opm-sorn-govt-6-personnel-research-and-test-
validation-records.pdf; OPM SORN GOVT-2 Employee Performance File System Records, U.S. Off. Personnel
Mgmt., https://www.opm.gov/information-management/privacy-policy/sorn/opm-sorn-govt-2-employee-
performance-file-system-records.pdf; Privacy Act of 1974; System of Records, 89 Fed. Reg. 72902 (Sep. 6, 2024).
81
   77 Fed. Reg. 73694.
82
   Ecarma & Legum, supra note 63.
83
   U.S. Off. Personnel Mgmt., System of Records Notices (SORN), https://www.opm.gov/information-
management/privacy-policy/#url=SORNs.


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        92.      None of the other statutory exceptions for disclosure of personal information set

forth in the Privacy Act applies or would have applied to authorize Defendants’ decision to

disclose the sensitive information and data contained within the FDS to DOGE representatives.

Department of Education Student Loan Systems

        93.      The Department of Education (ED) is responsible for managing the federal

student loan system through its Federal Student Aid (FSA) office. ED maintains several systems

of record that support operation of the federal student loan system.

        National Student Loan Data System

        94.      The National Student Loan Data System (NSLDS) is a comprehensive national

database for the Federal financial aid program. “As the central database for Title IV student

financial aid, NSLDS stores information about loans, grants, students, borrowers, lenders,

guaranty agencies . . . , schools, and servicers. It provides detailed information on individuals

pertaining to their Title IV loans and grants during all stages of their aid life cycle, from approval

through disbursement, repayment, default, and closure.”84

        95.      The NSLDS contains sensitive PII about the tens of millions of Americans who

apply for or receive Federal student aid, including Social Security Number, name, date of birth,

address, phone number, email address, and driver’s license information, as well as demographic

data about the borrower.85
        96.      Personal data about a borrower’s parents or co-signers is also contained in the

NSLDS. Among other things, it contains “information on the parent(s) of a dependent recipient,

including name, date of birth, SSN, marital status, email address, highest level of schooling

completed, and income and asset information.”86




84
   See U.S. Dep’t of Educ., Privacy Impact Assessment for the National Student Loan Data System (NLDS-New) at
4-5 (May 19, 2022), https://www.ed.gov/sites/ed/files/notices/pia/pia-nslds-new.pdf. The records on the NSLDS
“legacy” system were transferred to a revamped NSLDS-New system in October 2022. Id.
85
   U.S. Dep’t of Educ., Notice of a Modified System of Records (“NSLDS SORN”), 87 Fed. Reg. 57,873, 57,878.
86
   Id. at 57,879.


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        Common Origination and Disbursement System

        97.      The Common Origination and Disbursement System (CODS) processes

information relating to determining eligibility for federal student aid.87

        98.      The CODS includes records about aid applicants and recipients and their parents

and spouses, including Social Security number, name, date of birth, mailing address, email

address, driver’s license, and telephone number, and demographic information.88

        FUTURE Act System

        99.      The FUTURE Act System (FAS) is used to determine eligibility for, or repayment

obligations under, various income-driven repayment plans for federal student loans.89

        100.     FAS contains information about aid applicants, including last name, date of birth,

Social Security number and/or Tax Identification Number. It also includes similar information

about parents of dependent applicants and spouses of independent applicants, plus spousal

income and asset information and parental income and asset information.90

        Financial Management System

        101.     The Financial Management System (“FMS”) interfaces with other Federal

Student Aid systems and consolidates and centralizes all Federal Student Aid accounting and

financial data into one system. FMS contains personally identifying information about individual

borrowers who are entitled to a refund of an overpayment or discharge, or both. The system
includes a borrower’s Social Security number, name and address, amount of overpayment to be

refunded and name of the loan holder.91




87
   U.S. Dep’t of Educ., Privacy Impact Assessment for the Common Origination & Disbursement System (Sept. 29,
2023), https://www.ed.gov/sites/ed/files/notices/pia/fsa-pia-cod.pdf.
88
   U.S. Dep’t of Educ., Notice of a Modified System of Records (“CODS SORN”), 88 Fed. Reg. 41,942, 41,947
(June 28, 2023).
89
   U.S. Dep’t of Educ., Privacy Impact Assessment for the Federal Tax Information Module (June 4, 2024),
https://www.ed.gov/sites/ed/files/notices/pia/pia-ftim.pdf.
90
   U.S. Dep’t of Educ., Notice of a New System of Records (“FAS SORN”), 88 Fed. Reg. 42,220, 42,222 (June 29,
2023).
91
   U.S. Dep’t of Educ., Notice of a New System of Records (“FMS SORN”), 73 Fed. Reg. 177, 177 (Jan. 2, 2008).


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DOGE’s Efforts to Improperly Access ED’s Systems

        102.     According to a report in the Washington Post, “roughly 20 people with Elon

Musk’s ‘Department of Government Efficiency,’ known as DOGE, have begun working inside

the Education Department, looking to cut spending and staff.”92 The Washington Post has also

written, “DOGE staffers have gained access to multiple sensitive internal systems, including a

financial aid dataset that contains the personal information for millions of students enrolled in the

federal student aid program.”93 The access has “deeply alarmed” career staff.94 On information

and belief, the systems accessed include NSLDS, COGS, FAS and/or FMS.

        103.     It has been publicly reported that DOGE representatives “fed sensitive data from

across the Education Department into artificial intelligence software to probe the agency’s

programs and spending.”95 The Washington Post has reported that “[t]he DOGE team plans to

replicate this process across many departments and agencies, accessing the back-end software at

different parts of the government and then using AI technology to extract and sift through

information about spending on employees and programs.”

Defendants’ Disclosure of Information in ED’s Systems to DOGE Officials Violates the

Privacy Act

        The ED Systems are Systems of Record

        104.     NLSDS, COGS, FAS, and FMS (collectively, the “ED Systems”) are each a
system of records, and ED has published a SORN describing each system’s purposes and uses.96




92
   Laura Meckler et al., Trump Preps Order to Dismantle Education Dept. as DOGE Probes Data, WASH. POST
(Feb. 3, 2025), https://www.washingtonpost.com/education/2025/02/03/trump-education-department-dismantling-
executive-order-draft.
93
   Id.
94
   Jeff Stein et al., U.S. Government Officials Privately Warn Musk’s Blitz Appears Illegal, Wash. Post (Feb. 4,
2025), https://www.washingtonpost.com/business/2025/02/04/elon-musk-government-legal-doge.
95
   Hannah Natanson et al., Elon Musk’s DOGE Is Feeding Sensitive Federal Data into AI to Target Cuts, Wash.
Post (Feb. 6, 2025), https://www.washingtonpost.com/nation/2025/02/06/elon-musk-doge-ai-department-education.
96
   See NSLDS SORN, CODS SORN, FAS SORN, FMS SORN.


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       105.    The information in each of the ED Systems is retrieved by the name of the

individual or other “identifying particular” assigned to an individual.97

       106.    ED’s systems contain extensive personally identifiable information about

individuals, including but not limited to Social Security number, sensitive financial information,

and address.

       Providing DOGE Representatives with Direct Access to ED Systems is a “Disclosure”

       Under the Privacy Act

       107.    On information and belief, Defendants Acting Secretary of Education Denise

Carter and the Department of Education granted representatives of DOGE access to ED Systems

on or before February 3, 2025. That access qualifies as a disclosure under the Privacy Act.

       108.    None of the individual Plaintiffs, and on information and belief, none of the

members of the Plaintiff Organizations requested disclosure or provided express written consent

to the disclosure of their records and information to DOGE representatives.

       “Feeding” ED Systems Data to Unvetted AI Tools Is Likewise a “Disclosure” Under the

       Privacy Act

       109.    Public reporting has revealed that DOGE has begun “feeding” ED data into

artificial intelligence tools, including “data with personally identifiable information for people

who manage grants, as well as sensitive internal financial data.”98 Reporting also indicates that
DOGE plans to use artificial intelligence programs to analyze data retrieved from additional

agency systems.99 The AI tools DOGE is using to analyze agency data are reportedly hosted on

cloud-based computers that are located outside of federal-government facilities.100

       110.    Feeding ED Systems data into DOGE’s AI tools constitutes additional

unauthorized disclosures of data to the pur-based computers and operators of those systems.101


97
   NLDS SORN, 87 Fed. Reg. 57,873, 57,881; CODS SORN, 88 Fed. Reg. 41,942, 41,950; FAS SORN, 88 Fed.
Reg. 42,220, 42,225; FMS SORN, 73 Fed. Reg. 177, 179.
98
   See Natanson, supra n.102.
99
   Id.
100
    Id.
101
    Id.


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        DOGE Representatives Do Not Require Access to ED Systems in the Performance of

        their Duties

        111.     The Privacy Act carves out an exception for disclosures without prior written

consent to “officers and employees of the agency which maintains the record who have a need

for the record in the performance of their duties.”

        112.     The Privacy Act’s exception for disclosures to employees who need the record “in

the performance of their duties” does not apply.

        113.     Disclosure of data housed in any of the ED Systems to DOGE representatives is

not necessary for the performance of the duties of ED employees or officials.

        114.     The data stored on ED Systems is collected and maintained to enable

administration of the student loan system under Title IV of the Higher Education Act.102

        115.     DOGE and its representatives’ access to ED Systems has a very different purpose:

Musk has boasted online that DOGE is advancing President Trump’s aim to “end[] the federal

Department of Education.”103 Musk’s claim comes after President Trump “repeatedly vowed to

shutter the federal agency” on the campaign trail and announced after taking office that he

expects his nominee for Secretary of Education to “put herself out of a job.”104 On February 7,

2025, after DOGE officials had gained access to ED systems, Musk claimed that the department

“doesn’t exist.”105
        Defendants’ Disclosures of ED Systems Information to DOGE Officials is Not a “Routine

        Use” of the Protected Information

        116.     The Privacy Act’s “routine use” exception also does not apply.

        117.     The SORN for NSLDS lists 14 routine uses, none of which apply here.

102
    NLDS SORN, 87 Fed. Reg. 57,873, 57,877-78; CODS SORN, 88 Fed. Reg. 41,942, 41,945-46; FMS SORN, 73
Fed. Reg, 177, 178; FAS SORN, 88 Fed. Reg. 42,220, 42,221-22.
103
    Elon Musk (@elonmusk), X (Feb. 3, 2025, 8:30 PM), https://x.com/elonmusk/status/1886633448078475593; see
also Meckler et al., supra note 92 (noting that DOGE access “is a prelude to a more dramatic effort to make good on
one of Trump’s campaign promises: eliminating the Education Department altogether”).
104
    Zachary Schermele, President Trump Says He Wants His Education Secretary to ‘Put Herself out of a Job’, USA
TODAY (Feb. 4, 2025), https://www.usatoday.com/story/news/education/2025/02/04/trump-education-department-
mcmahon/78220522007.
105
    Elon Musk (@elonmusk), X (Feb. 7, 2025, 5:34 PM), https://x.com/elonmusk/status/1888038615780909178.


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        118.    The routine uses for NSLDS generally fall into several broad categories: uses

related to administration of the loan program; disclosures to enable enforcement by agencies

“charged with the responsibility of investigating or prosecuting” specific violations; litigation or

alternative disputes resolution procedures; disclosures required under the Freedom of

Information Act or Privacy Act; contract-related disclosures; employment- or benefit-related

matters; employee grievance proceedings; labor organization disclosure; disclosures to the

Justice Department or OMB; disclosures in the course of responding to a data breach; disclosures

in assisting another agency responding to a data breach; and disclosures to the National Archives

and Records Administration.106

        119.    None of the routine uses listed by the NSLDS SORN contemplate data access for

the purpose of dismantling the Department of Education.

        120.    None of the routine uses listed by the NSLDS SORN contemplate “feeding” data

into artificial intelligence systems, and certainly not for the purpose of dismantling the

Department of Education.

        121.    As alleged above, DOGE officials are accessing the ED Systems for purposes of

destroying ED, not for any of the purposes identified in the NSLDS SORN.

        122.    The SORN for CODS lists 15 routine uses, none of which apply here. The routine

uses for CODS are similar to those for NSLDS.107
        123.    As alleged above, DOGE officials are accessing the ED Systems for purposes of

destroying ED, not for any of the purposes identified in the CODS SORN.

        124.    The SORN for FAS lists 15 routine uses, none of which apply here. The routine

uses for FAS are similar to those for NSLDS and CODS.108

        125.    As alleged above, DOGE officials are accessing the ED Systems for purposes of

destroying ED, not for any of the purposes identified in the FAS SORN.



106
    NLDS SORN, 87 Fed. Reg. 57,873, 57,879-81.
107
    CODS SORN, 88 Fed. Reg. 41,942, 41,948-50.
108
    FAS SORN, 88 Fed. Reg. 42,220, 42,223-25.


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        126.     The SORN for FMS lists 10 routine uses, none of which apply here. The routine

uses for FAS are similar to those for NSLDS, CODS, and FAS.109

        127.     As alleged above, DOGE officials are accessing the ED Systems for purposes of

destroying ED, not for any of the purposes identified in the FMS SORN.

        128.     The use of the records contained in ED Systems to dismantle ED is incompatible

with any legitimate duties of the Department and with the purpose for which the records were

collected and maintained.

        129.     None of the other statutory exceptions for disclosure of personal information set

forth in the Privacy Act applies or would have applied to authorize Defendants’ decision to

disclose the sensitive information and data contained within the ED to DOGE representatives.

Defendants’ Disclosure of Protected Data to DOGE Employees Is Unprecedented

        130.     Defendants and DOGE have turned the data systems that enable the government

to function into a weapon to dismantle the government from the inside. Indeed, Mr. Musk exults

the non-routine nature of DOGE. In response to a post on X that said “DOGE is speedrunning

government reform--$4B/day cuts could start THIS weekend. Bureaucracy never saw it

coming[,]” Musk seemed to agree, explaining: “Very few in the bureaucracy actually work the

weekend, so it’s like the opposing team just leaves the field for 2 days!”110

        131.     As DOGE’s intrusion into Plaintiffs’ sensitive data is unprecedented, Defendants’
disclosures cannot constitute “routine use” authorized by the Privacy Act.111 When these systems

are used for routine purposes, access is usually very restricted.112 For instance, “the aggregate

information contained in the OPM databases is so sensitive, said a U.S. official, that even White

House requests for certain types of data were rebuffed under previous administrations.”113

109
    FMS SORN, 93 Fed. Reg. 177, 178-79.
110
    Elon Musk (@elonmusk), X (Feb. 1, 2025 3:37 PM), https://x.com/elonmusk/status/1885789468713476492.
111
    Charlie Warzel & Ian Bogost, The Government’s Computing Experts Say They are Terrified, The Atlantic (Feb.
7, 2025), https://www.theatlantic.com/technology/archive/2025/02/elon-musk-doge-security/681600/.
112
    Id.
113
    Isaac Stanley-Becker et al., Musk’s DOGE Agents Access Sensitive Personnel Date, Alarming Security Officials,
Wash. Post (Feb. 6, 2025), https://www.washingtonpost.com/national-security/2025/02/06/elon-musk-doge-access-
personnel-data-opm-security/?utm_campaign=wp_post_most&utm_medium=email&utm_source=newsletter&carta-



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        132.     Defendants are disclosing protected data to DOGE representatives not to advance

their agencies’ respective agendas, but to advance the DOGE agendas. Destroying

Congressionally-established federal agencies is not a “routine use” of these systems. Identifying

entire programs to eliminate is not a “routine use” of these systems. And feeding Americans’ PII

into private artificial intelligence systems is not a “routine use” of these systems.

Defendants’ Disclosure of Protected Data Has Harmed and Will Continue to Harm

Plaintiffs

        133.     President Gerald Ford, who signed the Privacy Act into law, described the Act as

codifying this country’s long-held commitment to “safeguard personal privacy.” Indeed, the Act

mandates that the government “protect the right of privacy for every American.” Defendants’

unauthorized access and disclosure of that information to DOGE representatives violates

Plaintiffs’ rights under the Privacy Act. It has also exposed Plaintiffs’ sensitive information to

serious risk.

        134.     Plaintiffs, like many millions of Americans since the Act’s passage, rely on the

protections enshrined in the Privacy Act to safeguard their sensitive information housed in the

systems described in this Complaint. Defendants’ actions have run roughshod over those

protections. Cyber security experts warn that Defendants’ actions pose several extreme risks. “As

one administrator for a federal agency with deep knowledge about the government’s IT
operations told [the Atlantic], “‘I don’t think the public quite understands the level of

danger.’”114

        135.     According to public reporting, a Treasury Department internal threat analysis has

designated DOGE to be an “insider threat.”115 The Bureau of Fiscal Service’s threat intelligence

team recommended “suspending [DOGE’s] access immediately and conducting a comprehensive

url=https%3A%2F%2Fs2.washingtonpost.com%2Fcar-ln-
tr%2F40f0f54%2F67a4ea66cd86f13ee737dd6e%2F5972aa5bade4e21a84818a4e%2F14%2F60%2F67a4ea66cd86f1
3ee737dd6e.
114
    Charlie Warzel & Ian Bogost, The Government’s Computing Experts Say They are Terrified, The Atlantic (Feb.
7, 2025), https://www.theatlantic.com/technology/archive/2025/02/elon-musk-doge-security/681600/.
115
    Vittoria Elliott & Leah Feiger, A US Treasury Intelligence Analysis Designates DOGE Staff as ’Insider Threat’,
Wired (Feb. 7, 2025), https://www.wired.com/story/treasury-bfs-doge-insider-threat/.


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review of all actions they may have taken on these systems.”116 The internal Treasury report

went on, “Continued access to any payment systems by DOGE members, even ‘read only,’ likely

poses the single greatest insider threat risk the Bureau of the Fiscal Service has ever faced.”117

          136.   The chaotic118 and secretive119 process by which DOGE representatives have

gained access to protected data—sometimes without proper vetting or security clearances120—

increases Plaintiffs’ concern about additional risks of unauthorized disclosure. Even “read only”

access allows users to copy and transfer Plaintiffs’ protected data into other systems—without

limitation.121

          137.   At least one DOGE representative has been publicly reported to have been a

member of cybercrime communities122 and was reported to have been previously fired from a

cybersecurity firm for leaking company secrets.123 It has also been widely reported that DOGE

representatives are using non-government issued devices to connect to government servers,

which significantly increases the risk of hacking.124

          138.   Exacerbating the risk of additional unauthorized access to Plaintiffs’ private

records is the planned introduction of the at-issue data into artificial intelligence systems. The

116 Id.
117 Id.
118
    Makena Kelly, DOGE Staff Had Questions About the ’Resign’ Email. Their New HR Chief Dodged Them, Wired
(Feb. 1, 2025), https://www.wired.com/story/doge-hr-elon-musk-resignation-fork-road-leaked-staff-meeting/.
119
    Vittoria Elliott et al., The US Treasury Claimed DOGE Technologist Didn’t Have ”Write Access” When He
Actually Did, Wired (Feb. 6, 2025), https://www.wired.com/story/treasury-department-doge-marko-elez-access/.
120
    Nick Schwellenbach, Elon Musk’s DOGE Teams Raise Vetting, Ethic Concerns, Project on Government
Oversight (Feb. 6, 2025), https://www.pogo.org/investigations/elon-musks-doge-teams-raise-vetting-ethics-
concerns.
121
    Charlie Warzel & Ian Bogost, The Government’s Computing Experts Say They are Terrified, The Atlantic (Feb.
7, 2025), https://www.theatlantic.com/technology/archive/2025/02/elon-musk-doge-security/681600/.
122
    Brian Krebs, Teen on Musk’s DOGE Team Graduated from ‘The Com’, Krebs on Security (Feb. 7, 2025),
https://krebsonsecurity.com/2025/02/teen-on-musks-doge-team-graduated-from-the-com/.
123
    Jason Leopold et al., Musk’s DOGE Teen Was Fired By Cybersecurity Firm for Leaking Company Secrets,
Bloomberg (Feb. 7, 2025), https://www.bloomberg.com/news/articles/2025-02-07/musk-s-doge-teen-was-fired-by-
cybersecurity-firm-for-leaking-company-
secrets?accessToken=eyJhbGciOiJIUzI1NiIsInR5cCI6IkpXVCJ9.eyJzb3VyY2UiOiJTdWJzY3JpYmVyR2lmdGVk
QXJ0aWNsZSIsImlhdCI6MTczODk1NzQyNCwiZXhwIjoxNzM5NTYyMjI0LCJhcnRpY2xlSWQiOiJTUkJXMTl
UMVVNMFcwMCIsImJjb25uZWN0SWQiOiIyQjE3NzFFOTlEODc0QzRDOTY1Njg1RTZBQkJGM0QwRCJ9.v
xGv4ncXEbIrUGmUYpTUdxLmCVDwzmEWp-VRWV9otME&leadSource=uverify%20wall.
124
    Cynthia Brumfield, Musk’s DOGE effort could spread malware, expose US systems to threat actors, CSO (Feb.
4, 2025), https://www.csoonline.com/article/3815925/musks-doge-effort-could-spread-malware-expose-us-systems-
to-threat-actors.html.


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security risks associated with AI are well-documented. President Biden issued an Executive

Order on October 30, 2023—which President Trump has since rescinded—identifying the

“extraordinary potential” for “peril” associated with use of AI, including but not limited to

“fraud, discrimination, bias, and disinformation” and creating risks “to national security.”125

Notwithstanding this, Defendants and DOGE representatives have adopted a “move fast and

break things” “AI-first strategy” that has already resulted in the sharing of sensitive Education

Department information with AI software with additional AI uses likely to follow.126

        139.    Defendants’ unlawful disclosures of Plaintiffs’ data to DOGE representatives has

caused Plaintiffs major distress and anxiety, as they do not know who their data has been or will

be shared with, whether these disclosures have made them vulnerable to further privacy

breaches, and how it may be weaponized against them. They are concerned that as a result of the

unlawful disclosures, they will be subject to harassment, intimidation, and economic and

reputational harm. These harms are ongoing and will continue absent judicial intervention.

Ongoing Litigation

        140.    On February 3, several unions and membership associations sued Defendants

Bessent and Department of the Treasury in Federal District Court of the District of Columbia

asserting Privacy Act violations based on DOGE access to FDS systems. On February 6, the

judge in that case deferred ruling on the plaintiffs’ motion for a temporary restraining order on
the basis of an agreement among the parties limiting access to FDS records to specific Treasury

Department officials, as well as Krause and Elez, “until such time as the Court rules on the

Plaintiffs’ forthcoming Preliminary Injunction Motion.”

         141. On February 7, 2025, the attorneys general of 19 states filed a lawsuit against

President Trump and Defendants Bessent and Department of the Treasury in the Southern

District of New York challenging the defendants’ policy to expand the Bureau of Fiscal

Services’ access to political appointees and Special Government Employees. The States allege

125
  Exec. Order No. 14,110, 88 Fed.Reg. 75,191 (Nov. 1, 2023).
126
  Victor Tangermann, Elon Musk's DOGE Training an AI to Analyze Government Spending, Futurism (Feb. 7,
2025), https://futurism.com/elon-musk-doge-ai-government; Natanson, supra n. 103.


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that the policy violates the Privacy Act, APA, separation of powers doctrine, and the Take Care

Clause of the United States Constitution.

       142.    On February 8, 2025, the judge in that case granted the plaintiffs’ motion for a

temporary restraining order, restraining the defendants from granting access to any Treasury

Department data system containing PII to any political appointee, Special Government

Employee, or detailee from another agency, and ordering them to direct any person who has

already received such access to immediately destroy any and all copies of material downloaded

from Treasury Department systems.

         143. Despite the existence of these other lawsuits, Plaintiffs anticipate additional

disclosures of their protected data as DOGE continues its plans to expand its reach within the

agencies.

                                    COUNT I – Violation of APA

                                    (Not in accordance with law)

       144.    The APA directs courts to hold unlawful and set aside agency actions that are

found to be arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.

5 U.S.C. § 706(2)(A).

       145.    The Privacy Act prohibits Defendants from disclosing records on individuals to

any person without the individual’s consent except in specified circumstances, none of which are
present here. 5 U.S.C. § 552a(b).

       146.    Defendants have granted DOGE representatives ongoing access to their systems

of records containing sensitive and personal data.

       147.    Defendants have disclosed Plaintiffs’ records and the records of Plaintiffs’

members to DOGE representatives without obtaining their consent.

       148.    Defendants have disclosed Plaintiffs’ records and the records of Plaintiffs’

members to DOGE representatives for uses other than the routine uses specified in the applicable

SORNs.




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        149.    Defendants’ actions violate the prohibitions in the Privacy Act and are therefore

not in accordance with law.

        150.    An individual action against Defendants for damages under the Privacy Act

would not cause Defendants to end the unlawful disclosure of Plaintiffs’ and their members’

records to DOGE Representatives, including future DOGE Representatives. Defendants’ action

is “final agency action for which there is no other adequate remedy in a court” and is therefore

subject to judicial review. 5 U.S.C. §§ 702, 704.

                                   COUNT II – Violation of APA

                                     (Arbitrary and capricious)

        151.    The APA directs courts to hold unlawful and set aside agency actions that are

found to be arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.

5 U.S.C. § 706(2)(A).

        152.    Defendants have failed to consider the consent requirements of the Privacy Act, 5

U.S.C. § 552a(b), and their duty to protect the sensitive data on their systems, 5 U.S.C. §

552a(e)(1); the risks that their disclosures would result in corrupted data; and the security threats

that are likely to result from their action.

        153.    Defendants failed to engage in reasoned decision-making to grant DOGE

representatives sweeping access to their systems of records containing sensitive and personal
data for the purposes of advancing the DOGE agenda.

        154.    Because Defendants have failed to consider an important aspect of the problem,

failed to engage in reasoned decision-making, and offer explanations that run counter to the

evidence before them, Defendants’ actions are arbitrary and capricious.

        155.    An individual action against Defendants for damages under the Privacy Act

would not cause Defendants to end the unlawful disclosure of Plaintiffs’ and their members’

records. Defendants’ action is “final agency action for which there is no other adequate remedy

in a court” and is therefore subject to judicial review. 5 U.S.C. §§ 702, 704.




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                                COUNT III – Violation of APA

                                 (Excess of statutory authority)

       156.     The APA directs courts to hold unlawful and set aside agency actions in excess of

statutory authority. 5 U.S.C. § 706(2)(C).

       157.     Defendants have a non-discretionary duty to protect records on individuals from

unauthorized disclosure.

       158.     Defendants’ action to grant DOGE representatives access to their systems of

records containing sensitive and personal data violates that duty.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that this Court:

   a. Declare that Defendants acted unlawfully in disclosing records protected by the Privacy

       Act to DOGE representatives.

   b. Enjoin Defendants from continuing to permit such access or otherwise obtain such

       information.

   c. Enjoin Defendants to ensure that there is no further unauthorized use or dissemination

       resulting from the unauthorized disclosures.

   d. Enjoin Defendants to retrieve or ensure the destruction of any copies of any records that

       were unlawfully disclosed.
   e. Enjoin Defendants to ensure that future disclosure of individual records will occur only in

       accordance with the Privacy Act and the SORNs applicable to the system of records at

       issue.

   f. Grant any temporary, preliminary, or permanent injunctive relief necessary to

       protect the privacy of individuals whose information is contained within the

       system of records.

   g. Award Plaintiffs their costs and attorneys’ fees for this action; and

   h. Grant any other relief as this Court deems appropriate.




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DATED: February 10, 2025



                              By:          /s/ Mark Hanna
                                    Mark Hanna (Fed. Bar No. 16031)
                                    David J. Rodwin (Fed. Bar No. 18615)
                                    MURPHY ANDERSON, PLLC
                                    1401 K Street NW, Suite 300
                                    Washington, DC 20005
                                    T: (202) 223-2620 | F: (202) 296-9600
                                    mhanna@murphypllc.com
                                    drodwin@murphypllc.com

                                    Daniel McNeil (pro hac forthcoming)
                                    General Counsel
                                    American Federation of Teachers, AFL-CIO
                                    555 New Jersey Ave. NW
                                    Washington, DC 20001
                                    T: (202) 393-6305 | F: (202) 393-6385
                                    dmcneil@aft.org

                                    Kristy Parker (pro hac forthcoming)
                                    Jane Bentrott (pro hac forthcoming)
                                    Shalini Goel Agarwal (pro hac forthcoming)
                                    PROTECT DEMOCRACY PROJECT
                                    2020 Pennsylvania Ave. NW, Suite 163
                                    Washington, DC 20006
                                    202-843-3092
                                    kristy.parker@protectdemocracy.org
                                    jane.bentrott@protectdemocracy.org
                                    shalini.agarwal@protectdemocracy.org

                                    Benjamin L. Berwick (pro hac forthcoming)
                                    PROTECT DEMOCRACY PROJECT
                                    15 Main Street, Suite 312
                                    Watertown, MA 02472
                                    (202) 579-4582
                                    ben.berwick@protectdemocracy.org




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                            Jessica A. Marsden (pro hac forthcoming)
                            PROTECT DEMOCRACY PROJECT
                            510 Meadowmont Village Circle, No. 328
                            Chapel Hill, NC 27517
                            (202) 579-4582
                            jess.marsden@protectdemocracy.org

                            Laurence M. Schwartztol (pro hac forthcoming)
                            DEMOCRACY AND RULE OF LAW CLINIC
                            Harvard Law School
                            1525 Massachusetts Avenue
                            Cambridge, MA 02138
                            (617) 998-1877
                            lschwartztol@law.harvard.edu

                            John L. Schwab (pro hac forthcoming)
                            MUNGER, TOLLES & OLSON LLP
                            350 S Grand Ave 50th Floor
                            Los Angeles, California 90071
                            (213) 683-9260
                            John.Schwab@mto.com

                            Xiaonan April Hu (pro hac forthcoming)
                            MUNGER, TOLLES & OLSON LLP
                            601 Massachusetts Avenue NW
                            Washington, DC 20001
                            (202) 220-1123
                            April.Hu@mto.com

                            Carson Scott (pro hac forthcoming)
                            Roman Leal (pro hac forthcoming)
                            MUNGER, TOLLES & OLSON LLP
                            560 Mission Street, Twenty-Seventh Floor
                            San Francisco, California 94105-2907
                            (415) 512-4000
                            Carson.Scott@mto.com
                            Roman.Leal@mto.com

                            Attorneys for Plaintiffs




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